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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :      Case No:
                                                  :
                   v.                             :      VIOLATIONS:
                                                  :
JOSHUA A. JAMES,                                  :      18 U.S.C. §§ 1512(c)(2), 2
                                                  :      (Obstruction of an Official Proceeding and
                              Defendant.          :      Aiding and Abetting)
                                                  :
                                                  :      18 U.S.C. §§ 1752(a)(1) and (2)
                                                  :      (Restricted Building or Grounds)

                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Michael M. Palian, Jr., being first duly sworn, hereby depose and state as follows:

                                      PURPOSE OF AFFIDAVIT

         1.        This Affidavit is submitted in support of a Criminal Complaint charging Joshua A.

James with violations of 18 U.S.C. §§ 2, 1512(c)(2), and 1752(a)(1) and (2) (the “Subject

Offenses”). This Affidavit sets forth evidence establishing probable cause that James attempted

to, and did, obstruct the United States Congress’s affirmation of the Electoral College vote

regarding the results of the 2020 U.S. Presidential Election, and that he committed other related

federal crimes in furtherance of that purpose, as set forth below.

         2.        I respectfully submit that this Affidavit establishes probable cause to believe that

James:

              a.        Corruptly obstructed, influenced, and impeded an official proceeding, in

                        violation of 18 U.S.C. §§ 1512(c)(2), 2, and attempted to do the same; and

              b.        Entered and remained in any restricted building and grounds without lawful

                        authority, and knowingly, and with intent to impede and disrupt the orderly
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                    conduct of Government business and official functions, engaged in disorderly

                    and disruptive conduct, in violation of 18 U.S.C. §§ 1752(a)(1) and (2).

        3.      Specifically, James was in Washington, D.C., on January 5, 2021, equipped with

military-style attire and gear, including apparel emblazoned with a patch related to the Oath

Keepers Militia. That day, James and others similarly dressed with Oath Keeper and tactical gear

served as a security detail for a speaker at the “Stop the Steal” rallies and events. 1 On January 6,

2021, James and a number of the same Oath Keepers he was with on January 5—all clad in much

of the same tactical and Oath Keeper gear they had donned the day prior—are seen in photographs

and videos walking together throughout Washington, D.C., and eventually toward the Capitol

building. James and the others affiliated with the Oath Keepers then breached the U.S. Capitol

grounds. While James stood with the other Oath Keepers, at least one of them (who will be referred

to below as “Person Five”)2 aggressively berated and taunted U.S. Capitol police officers

responsible for protecting the Capitol and the representatives inside. James then stormed the U.S.

Capitol and obstructed Congressional proceedings with other rioters on January 6, 2021. Soon

afterward, video and photographs show James gathered together with a number of other Oath

Keepers who had also stormed the Capitol, all standing within 100 feet of the building.

                                 BACKGROUND OF AFFIANT

        4.      As a Special Agent with the Federal Bureau of Investigation (“FBI”), I am

empowered by law to conduct investigations, make arrests, and execute and serve search and arrest



        1
          Individuals using the “Stop the Steal” moniker and related names organized rallies and related
events in Washington, D.C., on January 5-6, 2021, preceding the incursion at the Capitol.
        2
           Person One is further defined below. Persons Two, Three, and Four are not included in this
affidavit, but are already-numbered individuals associated with United States v. Thomas Caldwell, et al,
Case No. 21-cr-28 (APM). To maintain consistent nomenclature, the referenced individual here will be
defined as “Person Five.”



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warrants for offenses enumerated in Title 21 and Title 18 of the United States Code. I have received

training and gained experience in a variety of criminal laws and procedures, including those

involving drug distribution, white collar crime, and crimes of violence. Through my training,

education and experience, I have become familiar with the manner in which criminal activity is

carried out, and the efforts of persons involved in such activity to avoid detection by law

enforcement. In addition to my regular duties, I am currently tasked with investigating criminal

activity that occurred in and around the U.S. Capitol grounds on January 6, 2021.

       5.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause, it does not contain every fact known by me or the United States. The dates listed

in this Affidavit should be read as “on or about” dates.

                                         BACKGROUND

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

       6.      The 2020 United States Presidential Election occurred on November 3, 2020.

       7.      The United States Electoral College is a group required by the Constitution to form

every four years for the sole purpose of electing the president and vice president, with each state

appointing its own electors in a number equal to the size of that state’s Congressional delegation.

       8.      On December 14, 2020, the presidential electors of the U.S. Electoral College met

in the state capital of each state, and in the District of Columbia, and formalized the result of the

2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have

won sufficient votes to be elected the next president and vice president of the United States.




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       9.      On January 6, 2021, a Joint Session of the United States House of Representatives

and the United States Senate (“the Joint Session”) convened in the United States Capitol building

(“the Capitol”) to certify the vote of the Electoral College of the 2020 U.S. Presidential Election

(“the Electoral College vote”).

                       The Attack at the U.S. Capitol on January 6, 2021

       10.     The Capitol is secured 24 hours a day by United States Capitol Police. The Capitol

Police maintain permanent and temporary barriers to restrict access to the Capitol exterior, and

only authorized individuals with appropriate identification are allowed inside the Capitol building.

       11.     On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

Capitol building to certify the Electoral College vote. Vice President Michael R. Pence, in his

constitutional duty as President of the Senate, presided over the Joint Session.

       12.     A large crowd began to gather outside the Capitol perimeter as the Joint Session

got underway. Crowd members eventually forced their way through, up, and over Capitol Police

barricades and advanced to the building’s exterior façade. Capitol Police officers attempted to

maintain order and stop the crowd from entering the Capitol building, to which the doors and

windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members

forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting

Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.

The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member

submitted to security screenings or weapons checks by Capitol Police or other security officials.

       13.     Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate

(including Vice President Pence)—who had withdrawn to separate chambers to resolve an

objection—were evacuated from their respective chambers. The Joint Session and the entire




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official proceeding of the Congress was halted while Capitol Police and other law-enforcement

officers worked to restore order and clear the Capitol of the unlawful occupants.

       14.     Later that night, law enforcement regained control of the Capitol. At approximately

8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained

within the Capitol building throughout these events.

       15.     In the course of these events, approximately 81 members of the Capitol Police and

58 members of the Metropolitan Police Department were assaulted. Additionally, many media

members were assaulted and had cameras and other news-gathering equipment destroyed, and the

Capitol suffered millions of dollars in damage—including broken windows and doors, graffiti, and

residue of various pepper sprays, tear gas, and fire extinguishers.

                                    The Oath Keepers Militia

       16.     Law enforcement and news-media organizations observed that members of an

organization known as the Oath Keepers were among the individuals and groups who forcibly

entered the Capitol on January 6, 2021. The Oath Keepers are a large but loosely organized

collection of individuals, some of whom are associated with militias. Some members of the Oath

Keepers believe that the federal government has been coopted by a cabal of elites actively trying

to strip American citizens of their rights. Though the Oath Keepers will accept anyone as

members, they explicitly focus on recruiting current and former military, law enforcement, and

first-responder personnel. The organization’s name alludes to the oath sworn by members of the

military and police to defend the Constitution “from all enemies, foreign and domestic.” The Oath

Keepers are led by Person One.

       17.     On January 4, 2021, Person One posted an article to the Oath Keepers website

encouraging Oath Keeper members and affiliates to go to Washington, D.C., for the events of




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January 5-6, 2021, stating: “It is CRITICAL that all patriots who can be in DC get to DC to stand

tall in support of President Trump’s fight to defeat the enemies foreign and domestic who are

attempting a coup, through the massive vote fraud and related attacks on our Republic. We Oath

Keepers are both honor-bound and eager to be there in strength to do our part.”

       18.     In a widely disseminated video recorded by a photojournalist on January 6, 2021, a

“stack” of individuals dressed in matching uniforms consisting of camouflaged-combat attire,

moved up and through a crowd on the central staircase on the east side of the U.S. Capitol.3 A

screenshot of the video is below, with a portion of the “stack” encircled by a red oval:




       3
        See https://apnews.com/article/ex-military-cops-us-capitol-riot-a1cb17201dfddc98291edead5
badc257/gallery/0ecd1781c66d437f92c61b3f4848a74e, at slide 10 (Last accessed on March 4, 2021).


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Surveillance video from inside the Capitol shows that this “stack” of Oath Keeper members and

affiliates (and other members of the crowd) breached the doors to the Capitol at approximately

2:40 p.m. Photographic and video evidence shows that the members of the “stack” proceeded to

travel through the Capitol.

       19.     A service called “News2Share” uploaded to YouTube a video of the January 6,

2021, attack at the Capitol. At the approximate 3-minute-and-8-second mark, the video shows

eight-to-ten individuals in matching uniforms consisting of camouflaged-combat attire

aggressively approaching an entrance to the Capitol.4 These individuals—who are wearing

helmets, reinforced vests, and clothing with logos and insignia of the Oath Keepers organization—

can be seen moving in an organized and practiced fashion and forcing their way to the front of the

crowd gathered around a set of doors to the Capitol.




       20.     On February 19, 2021, a grand jury in the District of Columbia returned an

indictment charging seven individuals—including a married couple from Florida, named Kelly


       4
         See https://www.youtube.com/watch?v=b76KfHB0QO8&feature=youtu.be (Last accessed on
March 4, 2021).



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and Connie Meggs—with being part of this “stack,” and with participating in a conspiracy to

obstruct Congress’s certification of the Electoral College vote on January 6, 2021. See United

States v. Thomas Caldwell, et al, Case No. 21-cr-28 (APM). Two additional individuals are

charged in that same indictment with aiding and abetting and conspiring with their co-defendants

in the “stack.” This investigation has revealed that Kelly and Connie Meggs are dues-paying

members of the Oath Keepers, and Kelly Meggs professed to be the leader of a Florida chapter of

the group.

              STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       21.     Joshua A. James is a 33-year-old resident of Arab, Alabama. Evidence uncovered

in the course of the investigation demonstrates that James was in Washington, D.C., on January 5

and 6, 2021, and forcibly stormed the U.S. Capitol, equipped with military-style gear, for the

purpose of obstructing the Congressional proceeding occurring on January 6. Evidence also

demonstrates that, throughout January 5 and 6, James acted with other individuals who are

affiliated with the Oath Keepers and who also stormed the Capitol on January 6.

  Background on Joshua James and His Connections to Other Oath Keepers Who Provided
                    Security at the Rallies Held on January 5-6, 2021

       22.     James lists himself on publicly-available social media platforms as the Owner and

Operations Director of a cleaning services company known as “American Pro Hydro Services

LLC,” located in Arab, Alabama. American Pro Hydro Service’s publicly-available Facebook

profile includes numerous photographs of James and nearly 30 videos, many of which depict James

introducing himself by name. On American Pro Hydro Service’s Facebook profile and James’s

own profile, he appears in a shirt bearing the name “American Pro Hydro Services LLC” on the

front and back, and his own name, “Joshua James,” on the upper right shoulder. James also has a

hair style with thin, dark-colored hair on the sides, dark-colored facial hair, and a soul patch with



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no hair growing on either the bottom left or right corners of his bottom lip. James is depicted

below with his name on his shirt circled in red.




       23.     Your affiant has reviewed records, including a driver’s license photograph from the

Alabama Department of Motor Vehicles, and confirmed that James appears to be the person

depicted in the above photograph.

       24.     Pursuant to legal process, the government obtained records from Facebook for

James, which showed that the account had been verified using the phone number XXX-XXX-

4304, and a gmail address that included his name and birth year.

       25.     Pursuant to legal process, the government obtained records from AT&T, which

showed that phone number XXX-XXX-4304 is registered to James and listed a gmail address that

matches the gmail address associated with his Facebook account. Both the Facebook and AT&T


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accounts list a home address for James in Arab, Alabama—the location that James’s company,

American Pro Hydro Services, lists on its Facebook account.

       26.     Records indicate that phone number XXX-XXX-4304 (associated with James)

exchanged a number of phone calls throughout November and December 2020 with a person who

will be referred to herein as Person Five.

       27.     On November 13 and 14, 2020, for example, phone number XXX-XXX-4304

(associated with James) exchanged approximately eight calls with the number associated with

Person Five. Your affiant is aware that certain Oath Keepers attended rallies in Washington, D.C.,

held on November 14, 2020, at which some Oath Keepers, to include Person Five, operated as a

personal security detail for one or more speakers at the events.

       28.     Later, on or around November 20 and December 11, 2020, records indicate that

phone number XXX-XXX-4304 (associated with James) exchanged two phone calls with Person

Five. Your affiant is aware that certain Oath Keepers attended rallies in Washington, D.C., held

on December 12, 2020, to protest the results of the 2020 election—at which some Oath Keepers,

to include Person Five, operated as a personal security detail for speakers at the events.

       29.     According to public statements made by Person One, the Oath Keepers were

present in the vicinity of Washington, D.C., on January 5-6, 2021, to provide security to “VIPs” at

the rallies and events scheduled for those dates.

       30.     Kelly Meggs asserted, in messages sent to others before January 5-6, 2021, that the

Oath Keepers would be providing security for speakers and VIPs at the events in Washington,

D.C., on these dates. As noted above, Kelly Meggs is charged in Case No. 21-cr-28 with being a

member of the “stack” of Oath Keeper members and affiliates who stormed the Capitol on January




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6, 2021. On December 26, 30, and 31, 2020, phone number XXX-XXX-4304 (associated with

James) exchanged phone calls with a phone number associated with Meggs.

        31.       Finally, records indicate that, on or around January 5, 2021, phone number XXX-

XXX-4304 (associated with James) exchanged six calls with the number associated with Person

Five. That day, James, Person Five, and other individuals wearing apparel with the Oath Keepers

name and/or insignia provided security to a speaker at the “Stop the Steal” events planned for that

day.

              Joshua James with Oath Keepers in Washington, D.C. on January 6, 2021

        32.       On the morning of January 6, 2021, publicly-available photographs show

individuals wearing Oath Keeper patches on their hats, tactical vests, and sleeves congregated in

Washington, D.C. James is one of the individuals present, equipped with a light-colored paracord

attachment on his right backpack shoulder strap, an Oath Keepers baseball cap, a black neck gaiter

around his neck, a black long-sleeve top with an Oath Keepers patch on the sleeve, a backpack,

and brown tactical gloves. Person Five is standing next to James’s right shoulder, wearing tactical

gear and Oath Keepers gear. Behind James are a number of other individuals, believed to be Oath

Keepers members or associates equipped with similar tactical Oath Keeper gear. James and the

bottom half of his paracord attachment are circled in red, surrounded by the other Oath Keepers

affiliates.




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       33.     Additional publicly-available photographs depict James standing with four of the

same Oath Keepers and associates seen in the above photograph, as evidenced by their consistent

attire and equipment. James is standing on the far left operating what appears to be a mobile

phone, and he and the paracord attachment are circled in red. The four other Oath Keepers and

affiliates are the unredacted individuals in the street on the right side of the photograph.




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         34.   Later, James was with three of the same Oath Keeper affiliates in an area that

appears to be closer to the Capitol grounds. James is circled in red, standing on the right with his

paracord attachment (also circled in red), Oath Keepers gear, and tactical gloves. The other three

Oath Keeper affiliates are the unredacted individuals on the left side of the photograph.




        Joshua James and Other Oath Keepers Storm the U.S. Capitol on January 6, 2021

         35.   On January 6, 2021, James and other Oath Keepers stormed the Capitol, forcing a

halt to the certification of the Electoral College vote. As detailed above, records indicate that

James is associated with an AT&T device with phone number XXX-XXX-4304. In the morning

of January 6, phone number XXX-XXX-4304 called and texted a number associated with Person

Five.

         36.   Photographs and video capture James together with other Oath Keepers on the east

side of the Capitol building, where Person Five aggressively taunted and berated law enforcement

officers guarding the building. Moving from left to the right: James can be seen with his paracord




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attachment and Oath Keeper gear; another Oath Keeper photographed with James throughout

January 6 can be seen with his black and yellow Oath Keepers baseball hat; and Person Five can

be seen stepping toward and waving his arms at law enforcement officers in riot gear guarding the

building. James and his paracord attachment are both circled in red, and the other Oath Keeper

and Person Five, in blue.




       37.     Eventually, James unlawfully stormed the Capitol building itself. According to

records obtained through a search warrant, which was served on AT&T, the cellphone associated

with XXX-XXX-4034 was identified as having used a cell site consistent with providing service

to a geographic area that includes the interior of the United States Capitol building on January 6,

2021, the day of the attack on the Capitol. Pursuant to a court-authorized search warrant, law

enforcement also obtained records from Verizon Wireless for cell towers providing service to the

United States Capitol. The device associated with the phone number for Person Five was also

identified as having utilized a cell site consistent with providing service to the geographic area that

includes the interior of the United States Capitol building in and around the time of the attack on


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the Capitol on January 6, 2021.

       38.     Publicly-available photographs depict James unlawfully inside the Capitol

building. On February 14, 2021, the New York Times published an article, which used open-

source photographs to track the movements of several individuals wearing Oath Keepers

paraphernalia and equipment who stormed the Capitol on January 6, 2021.5 One image published

by the New York Times depicts an individual that appears to be James inside the Capitol building,

wearing the same black baseball hat with a light-colored Oath Keepers patch, backpack, dark-

colored long-sleeve top, and paracord attachment on the right backpack shoulder strap (circled in

white). Notably, this appears to be the same individual in the “Hydro” shirt and similar hairstyle

and facial hair depicted above from James’s publicly-available Facebook page.




       5
        See https://www.nytimes.com/interactive/2021/02/14/us/roger-stone-capitol-riot.html?action=
click&module=Spotlight&pgtype=Homepage (last accessed on March 4, 2021).


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       39.     Publicly-available video also captured James inside the Capitol building.6 He is

wearing the same dark-colored baseball hat with light-colored Oath Keepers patch seen in

photographs above. Likewise, the paracord attachment on James’s right backpack shoulder strap

and the light-colored Oath Keepers patch on his sleeve are visible when James turns to his left to

exit the Capitol building. In the two screenshots below, James is circled in red in the first, and the

paracord attachment and patch are circled in red in the second.




       6
          See https://freedomnews.tv/2021/01/06/protesters-storm-capitol-building-in-washington-dc/
(last accessed on March 4, 2021).



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       40.      Moments after the attack, James and other Oath Keepers who stormed the Capitol

on January 6, 2021, gathered together approximately 100 feet from the Capitol—near the east

entrance where James had previously congregated with other Oath Keepers while Person Five

accosted law enforcement officers. Publicly-available video shows that, after storming the Capitol,

James congregated with charged and uncharged individuals affiliated with the Oath Keepers—

many of whom had also stormed the Capitol, and some of whom James had acted with throughout

January 5 and 6, 2021.7 All of these individuals traveled to Washington, D.C., from states across

the Eastern seaboard. In the screenshot below, James is wearing the black baseball hat and light-

colored Oath Keepers patch seen in earlier photographs and is circled in red. Moving from left to

right, James is shown with the following relevant individuals, among others:

      Connie Meggs (yellow arrow), charged in Case Number 21-cr-28, as part of the group of

       Oath Keepers in the military-like “stack” formation that conspired to obstruct the

       congressional proceeding, aided and abetted the destruction of government property, and

       unlawfully entered the United States Capitol on January 6, 2021;

      Two Oath Keepers and affiliates (yellow arrows) who were photographed with James on

       January 5, 2021, and photographed as part of the military-like “stack” formation that

       stormed the Capitol on January 6, 2021;

      Four Oath Keepers and affiliates (blue arrows) who were photographed with James

       throughout January 5 and 6, 2021, including Person Five, who is partially included in

       James’s red circle;

      Kelly Meggs (yellow arrow) charged in Case Number 21-cr-28, as part of the group of

       Oath Keepers in the military-like “stack” formation that conspired to obstruct the


       7
           See https://www.youtube.com/watch?v=AWU7PW3Q3xA (last accessed on March 4, 2021).



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       congressional proceeding, aided and abetted the destruction of government property, and

       unlawfully entered the United States Capitol on January 6, 2021; and

      Another Oath Keeper (yellow arrow) who was photographed as part of the military-like

       “stack” formation that stormed the Capitol on January 6, 2021.




       41.     At one point, the video zooms into the group of Oath Keepers, and clearly shows

James standing with a number of the Oath Keeper affiliates seen with James throughout the day

on January 5 and 6, 2021. James is circled in red, wearing the black baseball hat emblazoned with

the light-colored Oath Keepers patch, and a backpack with the paracord attachment on the right

shoulder strap that is also circled in red. The other Oath Keepers and affiliates are standing around

James in the same military-style gear they are wearing in above photographs. James appears to be

talking to Person Five.




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                 Joshua James’s Oath Keeper Contacts After January 6, 2021

       42.    Since January 6, 2021, phone number XXX-XXX-4304 (known to be associated

with James) has exchanged multiple phone calls and text messages with the number associated

with Person Five. The number associated with James has also placed at least one call as recently

as February 2021, to a phone number known to be associated with Kelly Meggs, the now-arrested

self-described Florida Oath Keeper leader.




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                               CONCLUSIONS OF AFFIANT

       43.    Based on the foregoing, I submit that there is probable cause to believe that Joshua

A. James committed violations of 18 U.S.C. §§ 2, 1512(c)(2), and 1752(a)(1) and (2).

       44.    As such, I respectfully request that the Court permit the filing of this Complaint.


                                            _______________________________________
                                            SPECIAL AGENT MICHAEL M. PALIAN, JR.
                                            FEDERAL BUREAU OF INVESTIGATION


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3), March 8, 2021.
                                                             Digitally signed by G.
                                                             Michael Harvey
                                                             Date: 2021.03.08
                                                             10:55:08 -05'00'
                                            ___________________________________
                                            HON. G. MICHAEL HARVEY
                                            U.S. MAGISTRATE JUDGE




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